Case 3:20-cv-00719-DPJ-FKB Document 1-2 Filed 11/09/20 Page 1 of 2

Exhibit
Case 3:20-cv-00719-DPJ-FKB
City Services Billing

4000 Metrocenter Mall, Suite 103
Jackson, MS 39209

Office Hours
Monday - Friday 7:30 AM to 5:30 PM

Questions?
Please call us at 601-960-2000

IMPORTANT INFORMATION

Metered usage amount was not available at this time. Usage was billed at
a flat rate charge based on meter size. When metered usage data
becomes available, any usage less than this amount will be credited to
your account.

 

Our drinking water system has incurred Treatment Techniqueviolations.
For more information, please call the City's WaterFacilities Division at
601.960.2090 or visit the city's websiteat
http://www.jacksonms.gow/DocumentCenter/View/4567.

The City of Jackson 2017 Consumer Confidence Report is available online
at http://w.w.w.jacksonms.gov/DocumentCenter/View!14046. A paper copy
is available from Water/Sewer Engineering locatedon the 4th Fl. of the
Hood Bidg., 200 S. President St.

The City of Jackson found high levels of lead in drinking water in some
homes.Lead can cause serious health problems.For more information
please call the City's Water Facilities Division at 601.960.2090 or visit the
City's website at www.jacksonms.gov

Please visit our new website http://ms-jackson.civicplus.com for water bill
payments or pay bills over the phone: 4.800.450.9297

P.O. Box 23092
Jackson, MS 39225

 

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CLIFTON JACKSON

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Document 1-2 Filed 11/09/20 Page 2 of 2

ACCOUNT INFORMATION

Account Name: CLIFTON JACKSON
Account Number: 2972200000
Service Address: —Eaaa,
Service Period: 05/22/20 to 06/26/20
Bill Date: 06/26/20
Due Date: 07/13/20
Description Amount
Billing Period: 05/22/20-06/26/20
Sanitation Charges
Sanitation Charge @ $4.80 per Week $24.00
Water Charges
4,20 ccf (12 of/Day) @ $3.21 per ccf $13.48
Service Fee Over 300 cf $7.44
Sewer Charges
4,20 ccf (12 cf/Day) @ $4.47 per ccf $18.77
Summer Sewer Credit 15% $-2.82
Total Current Charges $60.87

PAYMENTS/ADJUSTMENTS/OTHER

Payment Received $0.00
Corrections $0.00
Total Payments/Adjustments/Other $0.00

Previous Balance: $3,899.94
Payments/Adjustments/Other $0.00
Outstanding Balance: $3,899.94
Total Current Charges: $60.87
Total Amount Due: $3,960.81

|

PLEASE RETURN THIS PORTION WITH YOUR PAYMENT
PLEASE MAKE YOUR CHECK PAYABLE TO: CITY OF JACKSON

Service Address:

 

Service Period: 05/22/20 to 06/26/20
Account Number: 2972200000
Due Date: 07/13/20
Amount Due: $3,960.81
Amount Enclosed: $

SEND REMITTANCE TO:

Daaa Ep Ay h gt fee gagged feet yeh had pee aE fp en fed

CITY SERVICES

DEPT, #07-0006

P.O, BOX 1798

MEMPHIS TN 38101-9715

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